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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division


 ERNEST NGONGA, et al..

       Plaintiffs,

 V.                                   Civil Action No. l:18-cv-975


 KIMBERLY J. ZANOTTI,
 Field Office Director,
 USCIS Washington Field Office,
 et al.,

       Defendants.




                            MEMORANDUM OPINION




       Plaintiff Ernest Ngonga filed an 1-130 Immigration Petition

 for Alien Relative on behalf of his wife. Plaintiff Danny Fokou.

 Defendant, U.S. Citizenship and Immigration Services (USCIS),

 denied the Petition under 8 U.S.C. § 1154(c) because it

 determined that Ms. Fokou had previously entered a marriage with

 Valery Nkwingwah Keyi for the purpose of evading the United

 States' immigration laws. Plaintiffs appealed the denial to the

 Board of Immigration Appeals (BIA) which affirmed USCIS'

 determination. Plaintiffs allege that the denial of the petition

 and its affirmance were arbitrary and capricious in violation of

 the Administrative Procedure Act (APA). This matter comes before

 the Court on the parties' cross Motions for Summary Judgment

 (Dkts. 24 & 27).
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